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    DANNY M. WELLS,
                                                                                        U,S. COURI OF
                         Plaintiff,                                                    FEDERAL CLAIMS

              v.                                             No. 17-1498C
                                                             Fifed: October 13.2017
    UNITED STATES,
                         Defendant.l
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                                                 ORDER
       The court is in receipt of pro se plaintiff's complaint. Plaintiff submitted the
complaint to the court without paying the $400.00 filing fee or submitting an application to
proceed in forma pauperis. As a result of this failure, the above-captioned case is
DISMISSED, without prejudice.

       IT IS SO ORDERED.
                                                                     /z/,1i-^4-
                                                                MARIAN BLANK HORN
                                                                       Judge




I The court notes that plaintiff names more than a hundred entities as defendants,
including individuals, agencies, foreign governments, and corporations, but does not
name the United States. Pursuant to Rule 10 of the Rules of the United States Court of
Federal Claims, all claims in the United States Court of Federal Claims must have "the
 United States designated as the party defendant." RCFC 10(a) (2017); see also 28 U.S.C
$ 1491 (a)(1) (2012). The United States Supreme Court has indicated, for suits filed in the
 United States Court of Federal Claims and its predecessors, "if the relief sought is against
others than the United States the suit as to them must be ignored as beyond the
jurisdiction of the court." United States v. Sherwood, 312 U.S.584, 588 (1941) (citation
omitted); see also Kurt v. United States, 1 03 Fed. Cl. 384, 386 (2012). Stated differently,
"the only proper defendant for any matter before this court is the United States, not its
officers, nor any other individual." Stephenson v. United States, 58 Fed. Cl. 186, 190
(2003) (emphasis in original); see also United States v. Sherwood, 312 U.S. at 588; Mav
v. United States, 80 Fed. Cl. 442,444 ("Jurisdiction, then, is limited to suits against the
United States."), aff'd, 293 F. App'x 775 (Fed. Cir. 2008).




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